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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

KAREN MC CLAFLIN,

           Defendant.
_____________________________________________________________________

                            STATUS REPORT
_____________________________________________________________________

       Karen McClaflin, though counsel, provides the following status report as ordered

by th Court on January 16, 2019:

       A report and the most recent notes from Dr. Brookmeyer will be attached under

restriction. It also appears that Ms. McClaflin has obtained her complete medical

records from both Dr. Brookmeyer and Dr. Miner, which appear to amount to

approximately 500 pages, which date from July,2013 to February,2019.

       Counsel believes that the Court does not want the full copies of the medical

records filed with the Court. Assuming that to be true, counsel will scan and hopefully

email the medical records directly to the appropriate medical officer at FMC Carswell

thereby avoiding any legal or ethical issues involved in disseminating the records to any

other person. Scanning is almost complete and there should not be a problem with

emailing the files directly to the facility as they are not so large that they cannot be

transmitted electronically.


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                                             Respectfully submitted,

                                             s/ Thomas J. Hammond
                                             Thomas J. Hammond
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                                             Attorney for Karen McClaflin




                             CERTIFICATE OF SERVICE

    I hereby certify that on February 15, 2019, I electronically filed the foregoing
STATUS REPORT with the Clerk of the Court using the CM/ECF filing system which will
send notification of such filing to the appropriate parties.



s/ Thomas J. Hammond
Thomas J. Hammond




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